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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                      LAFAYETTE DIVISION

   IN THE MATTER OF BULLY 1                                 CIVIL ACTION
   (SWITZERLAND) GMBH, AS OWNER,
   AND NOBLE DRILLING (U.S.) LLC, AS                        NO.
   OWNER PRO HAC VICE, OF THE
   GLOBETROTTER II                                          SECTION

                                                            JUDGE

                                                            MAGISTRATE


                               LIST OF POTENTIAL CLAIMANTS

         Petitioners, Bully 1 (Switzerland) GmbH and Noble Drilling (U.S.) LLC, pursuant to Rule

  F(6) of the Supplemental Rules for Admiralty or Maritime Claims, provide the following

  information to the potential claimants known to it at this time.

         1. Shell Oil Company

             (a) Thomas P. Diaz
                 Liskow & Lewis, APLC
                 701 Poydras Street, Suite 5000
                 New Orleans Louisiana 70139
                 504-556-4165

                 Michael A. Golemi
                 Liskow & Lewis, APLC
                 1001 Fannin Street, Suite 1800
                 Houston, Texas 77002
                 713-651-2914

             (b) Nature of Claim: Alleged reimbursement, indemnification, and/or contribution
                 from Noble Drilling (U.S.) LLC for alleged injuries to Noble employees.

             (c) Amount of Claim: Unspecified.
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        2. Shuler P. Alexander

           (a) Matt Shaffer
               Schechter, Shaffer & Harris, LLP
               3200 Travis Street, Third Floor
               Houston, TX 77006
               713-524-3500

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        3. Christian P. Boutin

           (a) Matt Shaffer
               Schechter, Shaffer & Harris, LLP
               3200 Travis Street, Third Floor
               Houston, TX 77006
               713-524-3500

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        4. Michael J. Brunner

           (a) Matt Shaffer
               Schechter, Shaffer & Harris, LLP
               3200 Travis Street, Third Floor
               Houston, TX 77006
               713-524-3500

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        5. Eric Coleman

           (a) Matt Shaffer
               Schechter, Shaffer & Harris, LLP
               3200 Travis Street, Third Floor
               Houston, TX 77006
               713-524-3500

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.




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           (c) Amount of Claim: Unspecified.

        6. Thomas D. Hext

           (a) Matt Shaffer
               Schechter, Shaffer & Harris, LLP
               3200 Travis Street, Third Floor
               Houston, TX 77006
               713-524-3500

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        7. Howell C. McIntyre

           (a) Matt Shaffer
               Schechter, Shaffer & Harris, LLP
               3200 Travis Street, Third Floor
               Houston, TX 77006
               713-524-3500

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        8. Matthew R. Smith

           (a) Matt Shaffer
               Schechter, Shaffer & Harris, LLP
               3200 Travis Street, Third Floor
               Houston, TX 77006
               713-524-3500

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        9. Blake Thomas

           (a) Matt Shaffer
               Schechter, Shaffer & Harris, LLP
               3200 Travis Street, Third Floor
               Houston, TX 77006
               713-524-3500




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           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        10. Eric Clapp

           (a) Matt Shaffer
               Schechter, Shaffer & Harris, LLP
               3200 Travis Street, Third Floor
               Houston, TX 77006
               713-524-3500

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        11. Derrick Brooks

           (a) John P. Roy
               Domengeaux, Wright, Roy & Edwards
               556 Jefferson Street, Suite 500
               Post Office Box 3668
               Lafayette, Louisiana 70502
               337-233-3033

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        12. Edward Simon

           (a) John P. Roy
               Domengeaux, Wright, Roy & Edwards
               556 Jefferson Street, Suite 500
               Post Office Box 3668
               Lafayette, Louisiana 70502
               337-233-3033

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        13. John Smith

           (a) Jerome H. Moroux
               Broussard & David



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               557 Jefferson Street
               Lafayette, Louisiana 70501
               337-233-2323

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        14. Richard “Patrick” Riley

           (a) Jerome H. Moroux
               Broussard & David
               557 Jefferson Street
               Lafayette, Louisiana 70501
               337-233-2323

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        15. Blaythe Painter

           (a) Jonathan L. Woods
               Randazzo, Giglio & Bailey LLC
               900 E. Saint Mary Blvd., Suite 200
               Lafayette, Louisiana 70503
               337-291-4900

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        16. Jared Regan

           (a) J. Craig Jones
               Craig Ray Hill
               Jones & Hill, LLC
               131 Highway 165 S
               Oakdale, Louisiana 71463
               318-707-0515

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.




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        17. John Guidry

           (a) J. Craig Jones
               Craig Ray Hill
               Jones & Hill, LLC
               131 Highway 165 S
               Oakdale, Louisiana 71463
               318-707-0515

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        18. Yury Remedio

           (a) Lawrence N. Curtis
               300 Rue Beauregard Building C
               Lafayette, LA 70508
               337-366-8317

              and

              Jerome H. Moroux
              Broussard & David
              557 Jefferson Street
              Lafayette, Louisiana 70501
              337-233-2323


           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        19. Steven Cochran

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.



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        20. Christopher Davis

           (a) Frank E. Lamothe III
               Lamothe Law Firm LLC
               400 Poydras Street, Suite 1760
               New Orleans, Louisiana 70130
               504-704-1414

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        21. Jeffrey Edwards

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        22. Joshua Flowers

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        23. Brandon Freeman

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan



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               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        24. Diego Gonzalez

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        25. Chris Hefferan

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        26. Tanner Littlefield

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800



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           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        27. Josh McDanial

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        28. Jed Muske

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        29. Charles Picard

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.



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        30. Barry Skates

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        31. Jamie Vargas

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        32. Michael Wooley

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        33. Dedren Bradley

           (a) Kurt B. Arnold



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               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        34. Harold Calais

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        35. Jose Carrivales

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        36. Ernest Kellar

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive



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               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        37. Ryan Ramsay

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        38. John Taranto, Jr.

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries.

           (c) Amount of Claim: Unspecified.

        39. James Worbington

           (a) Kurt B. Arnold
               J. Kyle Findley
               John Grinnan
               Arnold & Itkin LLP
               6009 Memorial Drive
               Houston, Texas 77007
               713-222-3800

           (b) Nature of Claim: Negligence claim stemming from alleged personal injuries



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             (c) Amount of Claim: Unspecified.

         40. Brian Barfield

             (a) W. Corey Grimley
                 The Glenn Armentor Law Corporation
                 300 Stewart Street
                 Lafayette, Louisiana 70501
                 337-233-1471

             (b) Nature of Claim: Negligence claim stemming from alleged personal injuries

             (c) Amount of Claim: Unspecified.

         Petitioner reserves the right to amend this Information to Potential Claimants as the

  investigation of this event is in its early stages and ongoing.



                                         Respectfully submitted:

                                         KEAN MILLER LLP


                                         __/s/ Robert Kallam _________________________
                                         ROBERT M. KALLAM (TX #24034175; LA #20242)
                                         TAYLOR ASHWORTH (LA #39404)
                                         600 Jefferson Street, Suite 1101
                                         Lafayette, Louisiana 70501
                                         Telephone: (337) 235-2232

                                         TIMOTHY WAYNE STRICKLAND (TX #19396298)
                                         STACEY TYREE NORSTRUD (TX #24025363)
                                         Pro hac to be applied for
                                         711 Louisiana Street, Suite 1800
                                         Houston, Texas 77002
                                         Telephone: (713) 844-3000

                                         BRADLEY J. SCHLOTTERER (LA #24211)
                                         SEAN T. McLAUGHLIN (LA #31870)
                                         First Bank and Trust Tower
                                         909 Poydras Street, Suite 3600
                                         New Orleans, Louisiana 70112
                                         Telephone: (504) 585-3050



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                                         AND

                                         NEUNERPATE

                                         JEFFREY CORIEL (LA # 32405)
                                         One Petroleum Center
                                         1001 West Pinhook Road, Suite 200
                                         Lafayette, LA 70503
                                         Telephone: (337) 237-7000

                                         ATTORNEYS FOR BULLY 1 (SWITZERLAND) GMBH AND
                                         NOBLE DRILLING (U.S.) LLC




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this the 25th day of February 2022, I electronically filed the

  foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of

  electronic filing to all counsel of record. I further certify that I mailed the foregoing document and

  the notice of electronic filing by first-class mail to those who are non-CM/ECF participants.


                                                                /s/ Robert Kallam____________




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